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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 1:15-CR-52-5
                                                  §
 FIDEL FUENTES JR.                                §


         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge. The magistrate judge recommended that the court accept the Defendant’s

 guilty plea. He further recommended that the court adjudge the Defendant guilty on Count One of

 the First Superseding Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea agreement

 until after review of the presentence report. The court ORDERS the Defendant’s attorney to read

 and discuss the presentence report with the Defendant, and file any objections to the report

 BEFORE the date of the sentencing hearing.




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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Fidel Fuentes, Jr., is adjudged

 guilty as to Count One of the First Superseding Indictment charging violation of 18 U.S.C. § 371.


  So ORDERED and SIGNED this 24 day of September, 2015.




                                              ___________________________________
                                              Ron Clark, United States District Judge




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